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                                      ORDERED.


     Dated: July 25, 2018




                    IN THE UNITED STATES BANKRUPTCY COURT
                 MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
 In Re:

 CHRIS E CARHART                                     Case No. 9:16-bk-06499-FMD

                   Debtor.
                                              /


                   ORDER GRANTING MOTION FOR AUTHORITY TO
                  COMPROMISE CONTROVERSY WITH JOHN BIALLAS

        THIS CAUSE came before the Court, without hearing, upon the Trustee’s Motion for
Authority to Compromise Controversy with John Biallas (Doc No. 118), and the Court having
reviewed the record and having found that the Trustee filed the motion on negative notice and it
appearing that no creditor or party in interest filed any objection to the motion, and the Court
being fully advised in the premises, finds that the motion is well taken, and it is in the best
interest of the bankruptcy estate that the Trustee be authorized to compromise the controversy
whereby John Biallas shall pay $5,000.00 to Trustee in full settlement of the claims brought in
the adversary proceeding, Adversary Case No. 9:16-ap-00838. Accordingly, it is,

          ORDERED that the Trustee’s Motion is hereby granted, and

         IT IS FURTHER ORDERED that the Trustee is hereby authorized to settle the above
described dispute with John Biallas, whereby John Biallas shall pay $5,000.00 to the Trustee in
full settlement of the claims brought in the adversary proceeding, Adversary Case No. 9:16-ap-
00838.

      IT IS FURTHER ORDERED that the Trustee is hereby authorized to execute all
documents necessary to consummate the settlement.


Trustee, Robert E. Tardif Jr., is directed to serve a copy of this Order on interested parties who
are non-CM/ECF users and file a proof of service within 3 days of entry of the Order.
